Case 4:22-cv-00908 Document 75-2 Filed on 08/21/24 in TXSD Page 1 of 7




                      Exhibit 2
          Case 4:22-cv-00908 Document 75-2 Filed on 08/21/24 in TXSD Page 2 of 7
                                                   Wednesday, August 21, 2024 at 09:13:09 Central Daylight Time

Subject:    Re: Couvillion v. White Marlin: Issues You Have Ignored
Date:       Tuesday, August 20, 2024 at 12:45:04 PM Central Daylight Time
From:       Jeb Golinkin
To:         Schwank, Daniel
CC:         Michael Cancienne, Denny, Danica, Eason, Suzanne
AFachments: image001.png, image002.jpg

I will try, but the month between the second week of September and mid-October are going to be very, very
tough with my schedule. That said, I’ll do the best I can and get back to you.

On that note, please reconsider your refusal to present Holvey and MD for their scheduled deposiTons next
week. They remain on my schedule. They are fact witness deposiTons totally unrelated to our dispute re.
30(b)(6). We need to knock these things out so we have the remaining months and openings available for the
remaining deposiTons.
--
Joseph W. Golinkin II
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(o) 713-955-4019 | (c) 832-250-6567
1980 Post Oak Blvd., Suite 2300 Houston, Texas 77056
www.jlcfirm.com | Attorney Biography




From: "Schwank, Daniel" <DSchwank@frilot.com>
Date: Tuesday, August 20, 2024 at 12:26 PM
To: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>, "Denny, Danica" <DDenny@frilot.com>, "Eason,
Suzanne" <Season@frilot.com>
Subject: RE: Couvillion v. White Marlin: Issues You Have Ignored

Jeb,

We need to take Nigel’s deposiTon in-person a`er receiving Defendants’ supplemental documents and
having an opportunity for our expert to review. Please provide dates for his deposiTon in mid to late
September.

Thanks,
Daniel



Daniel E. Schwank (he/him)
1100 Poydras Street, Suite 3700
New Orleans, LA 70163
504.599.8247 oﬃce
504.599.8137 fax


                                                                                                         Page 1 of 5
          Case 4:22-cv-00908 Document 75-2 Filed on 08/21/24 in TXSD Page 3 of 7


From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Sent: Monday, August 19, 2024 6:07 PM
To: Schwank, Daniel <DSchwank@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>; Eason, Suzanne
<Season@frilot.com>
Subject: Re: Couvillion v. White Marlin: Issues You Have Ignored

Daniel,

Also, I have talked to Nigel and we are willing to make him available for his fact deposiTon via zoom at
your convenience.

Jeb Golinkin
832-250-6567
jgolinkin@jlcﬁrm.com

Sent from my iPhone




      On Aug 19, 2024, at 4:51 PM, Schwank, Daniel <DSchwank@frilot.com> wrote:

      Jeb,

      We have added Couvillion’s MoTon to Quash these deposiTons as No. 4 to the joint lejer.
      If you would like to address the same, please provide your revisions ASAP so we can
      proceed with ﬁling.

      Thanks,
      Daniel

      <image002.jpg>
      Daniel E. Schwank (he/him)
      1100 Poydras Street, Suite 3700
      New Orleans, LA 70163
      504.599.8247 oﬃce
      504.599.8137 fax

      From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>




                                                                                                     Page 2 of 5
     Case 4:22-cv-00908 Document 75-2 Filed on 08/21/24 in TXSD Page 4 of 7

From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Sent: Monday, August 19, 2024 4:39 PM
To: Schwank, Daniel <DSchwank@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>;
Eason, Suzanne <Season@frilot.com>
Subject: RE: Couvillion v. White Marlin: Issues You Have Ignored

Daniel,

These deposiTons have been noTced for a while. My right to depose your fact witnesses is
completely unrelated to the dispute with respect to our dispute regarding your ability to re-
depose our corporate representaTve.

I hope you will reconsider. If not, we will promptly seek relief from the Court.

Thanks,

Jeb
-
--
Joseph (“Jeb”) W. Golinkin II
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(o) 713-955-4019 | (c) 832-250-6567
1980 Post Oak Blvd., Suite 2300 Houston, Texas 77056
www.jlcfirm.com | Attorney Biography
<image003.png>

From: Schwank, Daniel <DSchwank@frilot.com>
Sent: Monday, August 19, 2024 4:17 PM
To: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>;
Eason, Suzanne <Season@frilot.com>
Subject: RE: Couvillion v. White Marlin: Issues You Have Ignored

Hi Jeb,

Please see our comments below in red. Please also conﬁrm that Defendants are
withdrawing the noTces of deposiTon for Jason Holvey and Mitch Dautreuil. As you are
aware, we oﬀered August 27 and August 28 for these deposiTons subject to the
compleTon of Defendants’ corporate deposiTons, which we have yet to receive dates for.

Thanks,
Daniel

<image002.jpg>
Daniel E. Schwank (he/him)
1100 Poydras Street, Suite 3700
New Orleans, LA 70163
504.599.8247 oﬃce
504.599.8137 fax


                                                                                                Page 3 of 5
  Case 4:22-cv-00908 Document 75-2 Filed on 08/21/24 in TXSD Page 5 of 7


From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Sent: Saturday, August 17, 2024 5:30 PM
To: Schwank, Daniel <DSchwank@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>
Subject: Couvillion v. White Marlin: Issues You Have Ignored

Daniel,

This is the second (an in some cases, third) Tme I am following up on these topics. By EOB
Monday, please let me know if I need to go to the Court on these requests. I need your
documents properly produced no later than Friday. If I do not hear from you, I will assume you
are opposed and will prepare a lejer.

    1. Rogs: Please review Couvillion’s answers to Interrogatory Nos. 3-5, 8-11, 12, 16, 17 and let
       me know whether Couvillion will provide more complete answers, or whether it intends
       to stand on its exisTng objecTons. Couvillion maintains its responses and objecTons to
       the referenced interrogatories. Discovery is sTll ongoing. Defendants are well aware of
       the outstanding requests for documents and deposiTons. Couvillion will comply with its
       obligaTons, including its duty to supplement, as required by the Federal Rules of Civil
       Procedure.
    2. ProducTon of Evidence in Usable Format: you have not produced your documents in a
       usable format. By EOB Monday, please conﬁrm you will reproduce your documents as
       they were kept in the ordinary course of business. Please immediately re-produce
       Couvillion’s document producTon consistent with the below rules, which (as you know)
       are standard in virtually every commercial case involving meaningful documents.
       Couvillion produced documents in the same manner as Defendants. Please clarify if this
       request is in reference to any speciﬁc document so Couvillion can evaluate the same.
    3. 30(b)(6) DeposiTon: I’ve now asked for dates three Tmes. Please provide dates or I will
       noTce the deposiTon for a date and Tme of my choosing. Defendants have consistently
       failed to provide Couvillion with dates for resuming Defendants’ corporate deposiTons.
       We have also requested a new date for the deposiTon of Nigel Solida. Couvillion needs to
       ﬁnalize Defendants’ corporate deposiTons prior to Defendants conducTng the corporate
       deposiTon of Couvillion. Couvillion will provide a date for its corporate deposiTon as soon
       as Defendants oﬀer a mutually agreeable date to complete the Defendants’ corporate
       deposiTons.
InstrucPons for Document ProducPon
   1. File Format:
           1. PDF Files: All documents should be produced in searchable PDF format. Ensure
               that the text within the PDFs is OCR'd (OpTcal Character RecogniTon) to allow for
               text searching and indexing.
           2. NaPve Files: For documents that exist naTvely in electronic format (e.g., Word




                                                                                                      Page 4 of 5
     Case 4:22-cv-00908 Document 75-2 Filed on 08/21/24 in TXSD Page 6 of 7

           2. NaPve Files: For documents that exist naTvely in electronic format (e.g., Word
              documents, Excel spreadsheets, emails), produce these in their original naTve
              formats alongside the PDFs. Each naTve ﬁle should be accompanied by a
              corresponding PDF version.
     2. Metadata:
           1. Provide a metadata load ﬁle in .dat or .csv format, including the following ﬁelds:
                  1. Bates Number
                  2. Document Date
                  3. Author
                  4. Recipient
                  5. CC (if applicable)
                  6. BCC (if applicable)
                  7. Document Type (e.g., email, memo, report)
                  8. File Name (for naTve ﬁles)
                  9. Custodian
                10. File Path
                11. ConﬁdenTality DesignaTon (if applicable)
     3. Load Files:
           1. Provide a load ﬁle compaTble with standard liTgaTon support so`ware (e.g.,
              RelaTvity, Concordance, SummaTon). The load ﬁle should link the metadata ﬁelds
              with the corresponding documents.
     4. Folder Structure:
           1. Organize the documents in a logical folder structure that mirrors the original ﬁle
              system or is organized by custodian or date range.
     5. Delivery:
           1. Provide the producTon electronically via secure ﬁle transfer, encrypted USB drive,
              or another agreed-upon secure method.
           2. Include a detailed index or cover lejer describing the producTon set and the total
              number of documents and pages produced.

Thanks,

Jeb


--
Joseph W. Golinkin II
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www.jlcfirm.com | Attorney Biography
<image003.png>


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                                                                                                                Page 5 of 5
         Case 4:22-cv-00908 Document 75-2 Filed on 08/21/24 in TXSD Page 7 of 7




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